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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           Filed: May 21, 2021

*************************
NICHOLAS GALLELLI,                        *       No. 17-759V
                                          *
                     Petitioner,          *       Special Master Sanders
v.                                        *
                                          *
SECRETARY OF HEALTH                       *       Stipulation for Award; Pneumococcal
AND HUMAN SERVICES,                       *       Conjugate (“Prevnar 13”) Vaccine; Shoulder
                                          *       Injury Related to Vaccine Administration
                     Respondent.          *       (“SIRVA”)
*************************
Joseph A. Vuckovich, Maglio Christopher & Toale, P.A., Washington, DC, for Petitioner.
Ronalda E. Kosh, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

         On June 8, 2017, Nicholas Gallelli (“Petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012).
Petitioner alleged that the Prevnar 13 vaccine he received on June 22, 2015, caused him to sustain
a left shoulder injury, or a Shoulder Injury Related to Vaccine Administration (“SIRVA”). See Pet.
¶¶ 1–9, ECF No. 1. Petitioner further alleged that his injury lasted for more than six months. Id. ¶
8.

         On April 30, 2021, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Stipulation ¶ 7, ECF No. 64. The parties state that
“Respondent denies that [P]etitioner sustained a SIRVA Table injury; denies that the Prevnar [13]
vaccine caused [P]etitioner’s alleged shoulder injury, or any other injury; and denies that his
current condition is a sequelae of a vaccine-related injury.” Id. ¶ 6. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A. See id. ¶ 7. I find the stipulation reasonable
and adopt it as the decision of the Court in awarding damages, on the terms set forth therein.

          The parties stipulate that Petitioner shall receive the following compensation:

1
  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with
access to the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or similar files,
the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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                A lump sum of $6,000.00, in the form of a check payable to [P]etitioner,
                which represents compensation for all damages that would be available
                under 42 U.S.C. § 300aa-15(a).

Id. ¶ 8.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

           IT IS SO ORDERED.

                                                     s/Herbrina D. Sanders
                                                     Herbrina D. Sanders
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                2
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